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                                        INVESTOR COUNSEL

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     August 24, 2022

     BY ECF

     The Hon. Denise L. Cote
     United States District Judge
     United States District Court
     Southern District of New York
     500 Pearl St.
     New York, NY 10007-1312

             Re: In re Teladoc Health, Inc. Securities Litigation, No. 1:22-cv-04687 (DLC)

     Dear Judge Cote:

             We represent Walter De Schutter in the Teladoc Health, Inc. securities class actions, In re
     Teladoc Health, Inc. Securities Litigation, No. 1:22-cv-04687-DLC (S.D.N.Y.) and De Schutter
     v. Teladoc Health, Inc., et al., No. 1:22-cv-04525-ARR-RER (E.D.N.Y.).
             On August 24, 2022, United States District Judge Allyne R. Ross granted a stipulation
     and proposed order to transfer the De Schutter action to the United States District Court for the
     Southern District of New York and to consolidate the De Schutter action with this action for all
     purposes, including pre-trial and trial. We do not oppose the consolidation of the De Schutter
     action with this action.

                                                        Respectfully submitted,

                                                        /s/ Phillip Kim (PK 9384)
                                                        Counsel for Walter De Schutter

     cc:     All counsel via ECF




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